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                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


IN RE:                                                                            In Proceedings
                                                                                  Under Chapter 13
Gary M. Lager                          Constance S Lager
                                       aka Connie S Lager                         BK 18−31706−lkg
             Debtor(s)
SSN/Individual Taxpayer ID Number (ITIN):
xxx−xx−0429 xxx−xx−4574



                                      FINAL DECREE

The estate of the above named debtor has been fully administered.
IT IS ORDERED THAT:
Russell C Simon is discharged as Trustee in this cause and the sureties on the Trustee's bond are
released from further liability in this case.
The chapter 13 case of the above named debtor is closed.

ENTERED: December 8, 2020                                   /s/ Laura K. Grandy
                                                            UNITED STATES BANKRUPTCY JUDGE
